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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




CARLOS J. HERNANDEZ,

              Plaintiff,                                   Case No. 1:17-CV-327
v.
                                                           HON. GORDON J. QUIST
WILLIE SMITH, et al.,

              Defendants.
                                 /

               ORDER ADOPTING REPORT AND RECOMMENDATION

       On August 10, 2018, Magistrate Judge Kent issued a Report and Recommendation

recommending that the Court grant Defendant Dr. Gerlach’s motion for summary judgment and

dismiss Dr. Gerlach from this case. The Report and Recommendation was served on Plaintiff on

August13, 2018. No objections have been filed pursuant to 28 U.S.C. § 636(b). Therefore the Court

will adopt the Report and Recommendation.

       Therefore,

       IT IS HEREBY ORDERED that the August 10, 2018, Report and Recommendation (ECF

No. 76) is ADOPTED as the Opinion of the Court.

       IT IS FURTHER ORDERED that Defendant Gerlach’s Motion for Summary Judgment

(ECF No. 57) is GRANTED, and Plaintiff’s claims against Defendant Gerlach are dismissed with

prejudice.


Dated: September 6, 2018                                  /s/ Gordon J. Quist
                                                         GORDON J. QUIST
                                                    UNITED STATES DISTRICT JUDGE
